      Case 1:23-cr-00047-MHC-JEM Document 42 Filed 07/26/23 Page 1 of 3



                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF GEORGIA
                             ATLANTA DIVISION

UNITED STATES OF AMERICA                 )
                                         )
V                                        ) CRIMINAL ACTION NUMBER
                                         ) 1:23-cr-00047-MHC-JEM
KRISTOPHER KNEUBUHLER,                   )
                                         )
      Defendant.                         )

           DEFENDANT’S MOTION TO RECONSIDER MODIFICATION
                         OF BAIL CONDITIONS

      Defendant requests that this Honorable Court reconsider its ruling on the

modification of bail for the reasons set forth below:

      This court issued an order denying Kneubuhler’s request to modify his bond

conditions for a litany of reasons including the fact he didn’t dispute the

Government’s assertions. [Doc. 40]. In fact, Defendant did dispute the allegation that

his son was in a photo with an adult penis. Defendant pointed out that even the

Government’s brief stated they were unaware what the photo was after the Assistant

United States Attorney reviewed it. [Doc. 36]. For the court to accept as fact that

there was a penis in the photo is not an accurate take on even the Government’s own

review. In their response they stated, “The undersigned has viewed the image of

MMV1 recovered from the iPhone and the video of MFV1 recovered from the

desktop tower. Given the lack of definition, it is difficult to determine the nature of

the object near Defendant’s son’s face.” [Doc. 33 at FN 3].
      Case 1:23-cr-00047-MHC-JEM Document 42 Filed 07/26/23 Page 2 of 3




       Because the object in this photo wasn’t discernible, Defendant pointed out to

the Court that a photo containing an unknown object isn’t evidence of anything.

[Doc. 36]. This would be analogous to the government presenting evidence of an

unknown white powder that hasn’t been lab tested yet the finder of fact decides that it

is cocaine.

       Furthermore, as far as the proposed visitation options are concerned,

Kneubuhler proposed another option besides his mother’s supervision. He proposed

hiring a court approved person to supervise visits similar to a guardian ad litem. And

these visits can occur at his mother’s residence or anywhere else deemed appropriate

by this court or the probation officer. Obviously, this Court’s primary concern is both

the safety and wellbeing of these children. However, what’s the safety concern if

Kneubuhler is allowed to visit his children with a court approved person watching the

entire time? It is reasonable for the Court to be concerned for his children or any

child based on these allegations, but it is also harmful to these children to deny them

contact with their father beyond virtual contact.

       Therefore, we request the Court reconsider its decision.
              This 26th day of July, 2023.
                                               Respectfully submitted,

                                               /s/Lawrence J. Zimmerman
                                               Lawrence J. Zimmerman
                                               SBN :785198

                                               /s/Steven P. Berne
                                               Steven P. Berne
                                               SBN: 055020
      Case 1:23-cr-00047-MHC-JEM Document 42 Filed 07/26/23 Page 3 of 3




                                 CERTIFICATE OF SERVICE

       This is to certify that I have this day served upon counsel of record in this case a copy of the

foregoing document via the Electronic Case Filing system of the United States District Court for the

Northern District of Georgia.



       This 26th day of July, 2023.




                                                       Respectfully submitted,

                                                       /s/Lawrence J. Zimmerman
                                                       Lawrence J. Zimmerman
                                                       SBN: 785198

                                                       /s/Steven P. Berne
                                                       Steven P. Berne
                                                       SBN: 055020
